     Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.294 Page 1 of 9



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                              No. 1:19-CR-117-RJJ

v.                                                   Hon. Robert J. Jonker
                                                     Chief U.S. District Judge
LARRY CHARLES INMAN,

            Defendant.
_________________________________/

               GOVERNMENT’S BRIEF RESPONDING TO THE
                COURT’S FIRST AMENDMENT CONCERNS

       The United States of America, by and through United States Attorney

Andrew Byerly Birge and Assistant United States Attorneys Christopher M.

O’Connor and Ronald M. Stella, respectfully submits this brief responding to the

First Amendment concerns raised by the Court at the August 9, 2019 hearing on

Defendant Larry Inman’s Motion to Dismiss the Indictment.

       At the hearing, this Court asked the parties to comment on whether the

Supreme Court’s decision in Citizens United v. Federal Election Comm’n, 130 S. Ct.

876 (2010), bears on Inman’s motion to dismiss or more generally, the government’s

ability to prosecute Inman for the crimes alleged in counts 1 and 2 of the

indictment. Citizens United does not affect the indictment in this case in any way.

Nothing in Citizens United gave Inman a First Amendment right to attempt to

extort money from the MRCCM or corruptly solicit a campaign contribution in

exchange for an official act. And Citizens United does not call into question the
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.295 Page 2 of 9



government’s ability to prosecute those actions under 18 U.S.C. §§ 1951 or

666(a)(1)(B). After Citizens United, the Supreme Court reaffirmed that Congress

retains the ability to pursue the permissible goal of combatting political corruption

or its appearance. See McCutcheon v. Federal Election Comm’n, 572 U.S. 185, 206-

207 (2014) (“[W]e do not doubt the compelling nature of the ‘collective’ interest in

preventing corruption in the electoral process.”) Political responsiveness is “at the

heart of the democratic process,” but the “Government has a strong interest, no less

critical to our democratic system, in combatting corruption and its appearance.” Id.

at 227.

      The First Amendment to the Constitution protects political association and

political expression, but does not protect acts of attempted extortion or bribery.

Buckley v. Valeo, 424 U.S. 1, 15 (1976). The right of political association is not

absolute. Id. at 25. Indeed, the Supreme Court has long made clear that the First

Amendment rights of free speech and political association are not absolute. See,

e.g., Schenck v. United States, 249 U.S. 47, 52 (1919) (“The most stringent

protection of free speech would not protect a man in falsely shouting fire in a

theatre and causing a panic.”); Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72

(1942) (First Amendment does not protecting “fighting words” that inflict injury or

tend to incite immediate breach of the peace); Giboney v. Empire Storage & Ice Co.,

336 U.S. 490, 498 (1949) (First Amendment does not protect speech or writing “used

as an integral part of conduct in violation of a valid criminal statute”); U.S. Civil

Service Comm’n v. National Ass’n of Letter Carriers, AFL-CIO, 413 U.S. 548, 567



                                           2
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.296 Page 3 of 9



(1973) (“Neither the right to associate nor the right to participate in political

activities is absolute in any event.”)

      For more than 40 years, the United States Supreme Court has repeatedly

recognized that the electoral system must be protected from “corruption and the

appearance of corruption . . . .” Buckley, 424 U.S. at 25; McCutcheon, 572 U.S. at

191. The Supreme Court has affirmed certain campaign finance laws that balance

the constitutional right to political speech and the strong interest in preventing

political corruption. At the same time, the Court has expressed the view that

Congress retains the ability to prohibit “cash-for-votes exchanges,” “quid pro quo

arrangements,” and “bribery of public officials.” McConnell v. Federal Election

Comm’n, 540 U.S. 93, 143, 150 (2003) (citations and quotations omitted).

      For example, the Supreme Court has consistently upheld federal laws

restricting the amount of money that a donor can contribute to a particular

candidate for public office. Individual campaign contribution limits (also called base

limits) are constitutionally valid even though they impose modest restrictions on a

contributor’s First Amendment right to political speech because such limits deter

actual “quid pro quo” corruption and help avoid the appearance of such corruption.

Buckley, 424 U.S. at 25-26; McCutcheon, 207-08. The Supreme Court deferred to

Congress’s determination that large direct contributions by an individual to a

political candidate might lead to a political quid pro quo. Limitations on

contributions to a candidate for public office “serve[] an interest in protecting ‘the

integrity of our system of representative democracy.” McConnell, 540 U.S. at 120



                                            3
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.297 Page 4 of 9



(quoting Buckley, 424 U.S. at 26-27). Carefully constructed limitations on campaign

contributions “tangibly benefit public participation in political debate.” Id. at 136.

Likewise, although public disclosure requirements that reveal the identity of a

contributor to a particular candidate may have a “chilling effect” on political

participation if a potential contributor does not want to be identified as supporting a

particular candidate, such disclosure requirements also are a constitutional means

to prevent corruption. See Buckley, 424 U.S. at 60-83 (“disclosure serves

information functions, as well as the prevention of corruption and the enforcement

of the contribution limitations”); Citizens United, 558 U.S. at 366-71 (upholding

disclaimer and disclosure requirements).

      In Citizens United, the Supreme Court held that the government cannot

suppress corporate independent expenditures by forbidding campaign contributions

from corporate entities. Id. at 372. In so doing, the Court overruled Austin v.

Michigan Chamber of Commerce, 494 U.S. 652 (1990), which held that political

speech may be banned based on corporate identity, and overruled part of the

holding in McConnell that upheld restrictions on corporate independent

expenditures. Id. at 318, 365. The Court determined that the government may not

suppress political speech based on the “speaker’s corporate identity.” Id. at 365.

Other parts of the federal campaign law at issue, such as disclaimer and disclosure

requirements, were affirmed as valid exercises of congressional power to prevent

corruption in campaigns and elections even though such laws may have a chilling

effect on political speech. Id. at 366-71.



                                             4
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.298 Page 5 of 9



      In 2014, after Citizens United and two years before McDonnell v. United

States, 136 S. Ct. 2355 (2016), the Supreme Court was called upon to determine if

limitations on the aggregate amount of money a contributor may donate to all

political candidates or committees are a constitutional exercise of congressional

power to prevent corruption. See McCutcheon, 572 U.S. at 192. The Court held that

aggregate limits on contributions to multiple candidates or committees are invalid

under the First Amendment. Id. at 193. However, McCutcheon reaffirmed the

existence of a “constitutional line between the permissible goal of avoiding

corruption in the political process and the impermissible desire simply to limit

political speech.” Id. at 192.

      Importantly, McCutcheon reiterated that laws targeting quid pro quo

corruption or its appearance (which the Court described as “dollars for political

favors”) are constitutionally valid. Id. The plurality opinion observed that “quid

pro quo corruption occurs when ‘elected officials are influenced to act contrary to

their obligations of office by the prospect of financial gain to themselves or infusions

of money into their campaigns’” Id. at 225 (quoting Federal Election Comm’n v.

National Conservative Political Action Comm., 470 U.S. 480, 497 (1985)). The

Court’s opinion repeatedly recognizes that the government has a compelling interest

in preventing and combatting actual and perceived corruption in elections. Id. at

206-07, 227.

      In summary, Citizens United recognized First Amendment protection to

corporate political speech in the form of independent campaign expenditures. And



                                           5
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.299 Page 6 of 9



McCutcheon invalidated restrictions on aggregate contributions to multiple

candidates or committees. 1 Neither decision inhibits the government’s ability to

prosecute an attempt by a political candidate to extort money or solicit campaign

contributions where there is an allegation of a quid pro quo. In the government’s

view, even the “fullest and most urgent application” of the First Amendment does

not protect such actions. McCutcheon, 572 U.S. at 191-92. Indeed, both Citizens

United and McCutcheon expressly reaffirmed the government’s compelling interest

in preventing and addressing quid pro quo corruption at the same time the Court

struck down certain restrictions on corporate and aggregate contributions.

Although both cases recognize certain First Amendment rights to participate in

political campaigns, nothing in those decisions undermined the Court’s

longstanding view that quid pro quo agreements involving campaign contributions

may constitute a violation of federal anti-corruption laws.

      Defendants in other cases have attempted, without success, to cite Citizens

United and McCutcheon for the proposition that the First Amendment immunizes

them from prosecution when campaign contributions are involved in the alleged

criminal activity. In United States v. Menendez, 132 F. Supp. 3d 635, 638-39 (D.N.J.

2012), the defendants were charged with conspiracy to commit bribery and honest

services wire fraud and related crimes. The district court rejected the defendants’



1Limitations on direct contributions to candidates remain constitutionally valid
restrictions on political speech and expression. See Citizens United, 558 U.S. at
357-359; McCutcheon, 572 U.S. at 209, 221 (observing that such laws “serve[] the
permissible objective of combatting corruption,” even though such laws are
preventative and “a prophylactic measure”) (citing Citizens United, 558 U.S. at 357).
                                          6
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.300 Page 7 of 9



attempt to re-characterize the criminal charges as protected political speech where

the indictment alleged a quid pro quo bribery scheme. Id. at 621. The defendants

sought dismissal of the indictment before trial based on the holdings in Citizens

United and McCutcheon. The district court denied the motion to dismiss the

indictment, finding: “Nothing in either Citizens United or McCutcheon implies that

the First Amendment prevents prosecution of an alleged conspiracy in which things

of value were exchanged for official acts.”

      After trial, the court denied a motion for acquittal based on the same First

Amendment arguments. See United States v. Menendez, 291 F. Supp. 3d 606, 623

(D.N.J. 2018). The district court held that “nothing in Citizens United or related

cases implies a First Amendment bar to bribery prosecutions. On the contrary,

those decisions suggest an ongoing concern with precisely the type of dollars-for-

official-action exchange that is at the core of the Government’s allegations in this

case.” Id. at 621. See also Eugene Temchenko, Note, A First Amendment Right to

Corrupt Your Politician, 103 Cornell L. Rev. 465, 480 (2018) (observing that

Governor McDonnell, in his brief to the Supreme Court, argued that the federal

bribery statute implicates First Amendment rights after Citizens United, which the

Supreme Court neither addressed nor cited in its opinion). See generally Gil

Ramirez Group, L.L.C. v. Marshall, 765 F. App’x 970, 977 (5th Cir. 2019) (“The

Supreme Court was quite clear that the acceptance of bribes in exchange for votes

or the exertion of pressure to obtain other officials’ votes continues to be

unprotected by the First Amendment.”) (citing McDonnell, 136 S. Ct. at 2370-72).



                                              7
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.301 Page 8 of 9



      In this case, when Inman solicited the MRCCM for campaign contributions in

exchange for his vote on the prevailing wage repeal, the rule of law warned that an

attempt to obtain a campaign contribution in exchange for an official act is subject

to criminal prosecution in federal court. Although McCutcheon recognizes that “the

line between quid pro quo corruption and general influence may seem vague at

times,” McCutcheon, 572 U.S. at 209, this Court need not attempt to define the

outer boundaries of federal extortion and bribery laws. Any attempt to define the

outer boundaries of federal anti-corruption law would be based on hypotheticals, not

on the quid pro quo alleged in the indictment. Even the Supreme Court has not

done so beyond requiring evidence of an explicit, but not express, quid pro quo when

campaign contributions are involved. See McCormick v. United States, 500 U.S. 257

(1991); Evans v. United States, 504 U.S. 255 (1992).

      Finally, the indictment does not require this Court to determine the line

between quid pro quo corruption and lawful influence. The indictment does not

accuse Inman of violating the law by providing the MRCCM with unusual access to

him or his staff, by arranging meetings for the union, lobbying another public

official on the union’s behalf, or accepting valuable gifts from the MRCCM.

Moreover, the indictment does not allege that he violated federal law by accepting

and depositing campaign contributions from the MRCCM in 2017 and early 2018.

Rather, counts 1 and 2 of the indictment accuse Inman of attempting to obtain

additional campaign contributions from the MRCCM in exchange for his “No” vote

on the prevailing wage repeal through his communications with MRCCM



                                          8
    Case 1:19-cr-00117-RJJ ECF No. 45 filed 08/28/19 PageID.302 Page 9 of 9



representatives between June 3 and 5, 2018. This Court need only accurately and

fairly explain to the trial jury the elements of the charged offenses within the

context of the evidence presented at trial and the specific allegations contained

within the indictment in this case. See, e.g., United States v. Dimora, 750 F.3d 619,

624-25 (6th Cir. 2014) (affirming bribery conviction where the “instructions fairly

trace the line between permissible gifts and impermissible bribes”).

                                     Conclusion
      Neither the First Amendment nor the U.S. Supreme Court’s decisions

in Citizens United and McCutcheon provide a valid basis on which to dismiss

the attempted extortion and bribery charges in the Indictment for which

Inman has been called to answer.

                                               Respectfully submitted,

                                               ANDREW BYERLY BIRGE
                                               United States Attorney

Dated: August 28, 2019                         /s/ Christopher M. O’Connor
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                                           9
